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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

SEAN FITCH                                             JURY TRIAL DEMANDED

v.                                              CASE NO. 3:13 CV 1478 (MPS)

CONVERGENT OUTSOURCING, INC.



                         NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(l), plaintiff hereby dismisses the within action without

costs or fees based on the parties’ settlement agreement.

                                               THE PLAINTIFF




                                               BY____/s/ Joanne S. Faulkner___
                                               JOANNE S. FAULKNER ct04137
                                               123 Avon Street
                                               New Haven, CT 06511-2422
                                               (203) 772-0395


       Certificate of Service

       I hereby certify that on December 31, 2013, a copy of foregoing Notice of
Dismissal was filed electronically. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system. Parties may access this filing through
the Court’s system.

                                                    ____/s/ Joanne S. Faulkner___
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